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                            United States District Court
                                   EASTERN DISTRICT OF TEXAS
                                       SHERM AN DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 vs.                                              §            Case No. 4:01cr29
                                                  §            (Judge Crone)
 PATRICK NEAL ROSS (8)                            §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on November 13, 2013, to determine whether Defendant violated his supervised

 release.

        On September 28, 2001, Defendant was sentenced by the Honorable Paul Brown to one

 hundred and fifty-one (151) months’ custody followed by a term of supervised release for the offense

 of Conspiracy to Manufacture, Distribute, Possess with Intent to Manufacture, Distribute, Dispense

 Cocaine Base (Count One) and Establishment of Distribution Operations (Count Eighteen). On May

 9, 2008, the Court reduced the term of imprisonment to one hundred and twenty-one (121) months.

        On November 2, 2010, Defendant’s supervised release was revoked and he was sentenced to

 eight (8) months' imprisonment followed by an additional sixty (60) months of supervised release. On

 May 13, 2011, Defendant completed his period of imprisonment and began service of his new

 supervised term.

        On October 17, 2013, the U.S. Probation Officer executed a Petition for Warrant for Offender

 Under Supervision. The petition asserted that Defendant violated various mandatory and standard

 conditions.

        The petition alleges that Defendant committed the following acts with regard to the
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 violations: (1) On or about September 18, 2013, Defendant was arrested by Sherman, Texas, Police

 Department and charged with Possession of Marijuana less than 2 ounces. It is alleged that

 Defendant was driving his vehicle with passengers James Columbus, Ladonna Evelyn, and Mark

 Williams, when it was pulled over and a search warrant was executed. A loose useable amount of

 marijuana was located in the center console of the vehicle. Mark Williams had a usable amount of

 marijuana in his right front pants pocket, and Ladonna Evelyn removed two small clear baggies of

 marijuana from her bra. The search warrant also included Defendant’s residence. At his residence,

 a gallon size bag containing marijuana residue was located in the trash near the kitchen along with

 marijuana seeds and stems. Defendant was released on the same date after posting a $1,500 surety

 bond; (2) On October 4, 2013, Defendant admitted to associating with Kavan, Brandie, and Senvia

 who were at his residence smoking marijuana about two days prior to the search warrant being

 executed at his residence, also noting this as the reason for the marijuana seeds and stems in his

 kitchen trash can. Defendant also stated there have been several occasions where individuals have

 smoked marijuana at his residence; and (3) Defendant has failed to make a payment toward the fine

 for the months of July, August, September, October, and December, 2011, January, March, April,

 May, June, August, October, and November, 2012, as well as January, February, March, April, July,

 August, and September, 2013. Defendant’s outstanding balance was $2,053.54.

        Prior to the Government putting on its case, Defendant entered a plea of true to all the

 violations.

                                     RECOMMENDATION

        The Court recommends that the District Judge revoke Defendant’s supervised release.

 Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant be committed

 to the custody of the Bureau of Prisons to be imprisoned for a term of eight (8) months with no
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     supervised release to follow.
.
            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

           SIGNED this 13th day of January, 2014.




                                         ___________________________________
                                         AMOS L. MAZZANT
                                         UNITED STATES MAGISTRATE JUDGE
